       1:19-cv-01330-MMM-JEH
          Case ILC/1:19-cv-01330# 20
                                  Document
                                      Page 18 ofFiled
                                                 2 12/09/19 Page 1 of 2                 E-FILED
                                                      Tuesday, 17 December, 2019 11:25:18 AM
                                                                  Clerk, U.S. District Court, ILCD

                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: HY-VEE, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                                            MDL No. 2926


                        ORDER DEEMING MOTION WITHDRAWN


        Before the Panel is a motion by plaintiff Gordon Grewing filed pursuant to 28 U.S.C. § 1407,
seeking centralization in the United States District Court for the District of Kansas of the actions on
the attached Schedule A. Movant now seeks to withdraw his Section 1407 motion. No party has
responded to the motion.

      IT IS THEREFORE ORDERED that plaintiff’s motion for transfer under 28 U.S.C. § 1407
is DEEMED WITHDRAWN.


                                                       FOR THE PANEL:



                                                       John W. Nichols
                                                       Clerk of the Panel
     1:19-cv-01330-MMM-JEH
        Case ILC/1:19-cv-01330# 20
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                                               2 12/09/19 Page 2 of 2



IN RE: HY-VEE, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                       MDL No. 2926


                                 SCHEDULE A


DIST DIV. C.A. No.     CASE CAPTION

ILLINOIS CENTRAL
ILC    1    19!01330   Perdue et al v. Hy!Vee, Inc.

MISSOURI WESTERN
MOW 4     19!00928     Grewing v. Hy!Vee, Inc.

WISCONSIN WESTERN
WIW   3   19!00941     Davis, Patricia v. Hy!Vee, Inc.
